                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
HARRIS SILVER and ENTITY X, LLC            :
                                           :
            v.                             : No. 18-cv-20-JP
                                           :
HAROLD CHASE LENFEST, et al.,              :
                                           :


                                  RULE 41(a) DISMISSAL

       Pursuant to a settlement agreement and Rule 41(a)(1)(A)(i), Plaintiffs hereby dismiss this

action with prejudice.

                                          Respectfully submitted,

                                          _/s/Peter J. Kreher_____________
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                                 CERTIFICATE OF SERVICE

       I, Peter J. Kreher, hereby certify that I caused a true and correct copy of the foregoing
Rule 41(a) Dismissal to be served on all counsel of record by filing it on the Court’s ECF
system, where it is available for viewing and downloading.


                                                      __/s/Peter J. Kreher__________________
                                                             Peter J. Kreher
